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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

JOSEPH GILBERT THERIAULT, individually
and on behalf of those affected New Direction
Trust Company self-directed IRA
accountholders whose precious metals were to
be on deposit with First State Depository, and
all others similarly situated,                      Case No.

                                  Plaintiff,
v.                                                  CLASS ACTION COMPLAINT

NEW DIRECTION TRUST COMPANY, and
FIRST STATE DEPOSITORY, LLC,

                                  Defendants.




                                        INTRODUCTION

       Joseph Gilbert Theriault is the owner of an Individual Retirement Accounts (“IRA”)

provided and administered through Defendant New Direction Trust Company (“NDTCo”), a

Kansas bank and trust company, and invested in precious metals on deposit (or that were

represented to be on deposit) at Defendant First State Depository (“FSD”), a Delaware-based

precious metals depository. During September 2022, the Commodity Futures Trading Commission

(“the CFTC”) filed a lawsuit in Delaware federal court against FSD regarding the misappropriation

of its customers’ precious metals. The Court froze FSD’s assets and appointed a receiver, and that

receiver set up a publicly available website with information about the CFTC’s lawsuit and the

receivership. https://fsdreceivership.com/ The receiver retained an accounting firm to inventory

the precious metals on deposit at FSD, and, according to its reports, approximately 45% of the

missing and apparently misappropriated precious metals, totaling between $25-50 million, are

precious metals that were supposed to be on deposit at FSD for NDTCo IRA accountholders.
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       Plaintiff brings this action both individually and on behalf of a class of similarly situated

NDTCo IRA accountholders who have been victimized and damaged by the misappropriation of

their precious metals that were supposed to be on deposit at FSD. Plaintiff brings this action by

and through his undersigned attorneys based upon personal knowledge, information contained in

the September 2022 CFTC lawsuit, information contained in NDTCo account statements and

communications, and other information publicly available or obtained through counsel’s

preliminary investigation. Plaintiff anticipates that discovery will uncover further support for the

allegations in this Complaint and, potentially, for additional claims.

       As explained below, Defendants FSD and NDTCo have apparently caused or allowed the

misappropriation of precious metals owned by Plaintiff and the rest of the putative class, and both

Defendants FSD and NDTCo have breached fiduciary and other duties to the class, unjustly

enriched themselves through the charging of frivolous administrative fees and otherwise, and

violated the Kansas, Vermont, Delaware and other applicable state consumer protection acts.

Plaintiff brings this action to remedy this unlawful conduct, obtain compensatory damages, prevent

further harm, and obtain equitable relief for the benefit of himself and all the other victimized

precious metals NDTCo IRA accountholders. In support of his class claims, Plaintiff states and

alleges as follows:

                                           THE PARTIES

       1.      Plaintiff is a resident of Vermont.

       2.      Defendant New Direction Trust Company (“NDTCo”) is a Kansas bank/trust

company with its principal place of business in Louisville, Colorado, and may be served at its

Kansas registered agent office, located at 5901 College Blvd #100, Overland Park, Kansas 66211.




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       3.      Defendant First State Depository Company, LLC (“FSD”) is a Delaware limited

liability company with its principal place of business in Wilmington, Delaware, and may be served

through its Delaware registered agent, Registered Agents Legal Services, LLC, 1013 Centre Rd,

Suite 403S, Wilmington, Delaware 19805.

                                     JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d) because it is a class action case, the matter in controversy exceeds $5 million, and,

because Plaintiff is a citizen of Vermont and neither of the Defendants is a citizen of Vermont,

thus satisfying the requirement that “any member of a class of plaintiffs is a citizen of a State

different from any defendant.”

       5.      The Court has personal jurisdiction over Defendant NDTCo pursuant to Fed. R Civ.

P. 4(k)(1)(A) because NDTCo is a Kansas corporation, actively registered to do business in

Kansas, and is subject to general jurisdiction in Kansas.

       6.      The Court has personal jurisdiction over Defendant FSD pursuant to Fed. R Civ. P.

4(e) and the Kansas long-arm statute, K.S.A. 60-308, which allows for Kansas personal

jurisdiction over an out-of-state defendant on the basis of certain acts committed by that out-of-

state defendant, provided that the defendant has a sufficient connection with the state. In this case,

Defendant FSD has submitted to personal jurisdiction in Kansas under the Kansas long-arm statute

because Defendant FSD transacted business with a Kansas corporation, Defendant NDTCo, and

its IRA precious metals accountholder customers, those NDTCo IRA precious metal

accountholders who are themselves citizens of Kansas, and a Kansas-based precious metals dealer

referred to in the CFTC Complaint as “Metals Dealer 1” (K.S.A. 60-308(b)(1))(A)); entered into

contracts with residents of the State of Kansas to be performed in whole or in part by either party


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in Kansas (K.S.A. 60-308(b)(1)(e)); caused persons in Kansas injury arising out of an act or

omission by FSD while FSD was engaged in solicitation activities in Kansas and providing

services used or consumed in Kansas in the ordinary course of trade or use (K.S.A. 60-

308(b)(1)(g)). Furthermore, Defendant FSD is subject to personal jurisdiction in Kansas pursuant

to K.S.A. 60-308 because FSD has contact with Kansas which would support jurisdiction

consistent with the constitutions of the United States and Kansas and has substantial, continuous

and systematic contact with Kansas which would support jurisdiction consistent with the

constitutions of the United States and Kansas.

        7.      Venue is proper in this District under 28 U.S.C. §§ 1391(b)(1) and (c)(2).

                                     GENERAL ALLEGATIONS

        8.      NDTCo and its predecessors in interest were founded for the purpose of enabling

individuals to invest their IRAs in alternative investments, such as precious metals and real estate.

        9.      NDTCo’s Articles of Incorporation on file with the Kansas Secretary of State’s

office identify the “Nature of [NDTCO’s] Business” as follows, including but not limited to

“buy[ing] and sell[ing] … gold, silver, coin or bullion”:




        10.     NDTCo’s website similarly describes its business as “receiv[ing] for safekeeping

personal property of every description,” “to act as a custodian,” “to receive money for investment

in real or personal property of every kind and nature,” and “to buy and sell foreign or domestic

gold, silver, coin, or bullion.”


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       11.     NDTCo today manages $2.8 billion in assets spread across several platforms.

       12.     One of the programs NDTCo offers is self-directed precious metals IRAs.

       13.     FSD’s website describes itself as a "private depository" that offers "a full range of

precious metals custody, shipping and accounting services to both commercial and individual

participants in the rare coin and precious metals markets." FSD provides depository storage

services to Customers, but also stores precious metals and valuables for a number of Clients whose

assets are not part of the Programs. FSD has never been registered with the Commission in any

capacity.

       14.     FSD purported to hold secure and protect the physical assets of its customers.

       15.     FSD claimed to carry insurance sufficient to cover all physical assets stored at its

depository.

       16.     Since at least since 2010, First State Depository (“FSD”) was one of only a few

depositories specifically listed on NDTCo’s precious metals IRA account forms.

Plaintiff’s Precious Metals IRA Account with NDTCo and FSD

       17.     During 2012, Plaintiff rolled over more than $300,000 in retirement savings in his

employer-sponsored 401k plan into a precious metals self-directed IRA with Defendant NDTCo’s

predecessor in interest, New Direction IRA, Inc.

       18.     At that time, Plaintiff executed a Precious Metals Buy Direction Letter form

provided to him by New Direction IRA, Inc.

       19.     On that form, Plaintiff identified as his chosen precious metals custodian Defendant

FSD in Wilmington, Delaware.

       20.     Plaintiff identified Defendant FSD as his precious metals custodian because, on its

website and in its forms, FSD was one of a very few precious metals depositories specifically



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identified by New Direction IRA. Indeed, on at least one of its forms, FSD was the very first, and

only one of two, precious metals custodians listed, with its contact information included.

       21.     On its website and in its forms, New Direction IRA, Inc. and its successor in

interest, NDTCo, stated that these precious metals depositories were places where the precious

metals in which Plaintiff’s IRA was invested would be “safely locked away and insured,” which

representations Plaintiff and other NDTCo IRA accountholders reasonably relied upon.

       22.     NDTCo IRA accountholders such as Plaintiff also received reassurances from

NDTCo that FSD, in particular, was maintaining their precious metals in “segregated storage” and

“not co-mingled with any other metals owned by others”:




       23.     After opening his IRA account with New Direction IRA, Inc., Plaintiff received the

following confirmation letter from New Direction:




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       24.     Thereafter, Plaintiff received annual statements from New Direction IRA, Inc. and,

later, its successor in interest, NDTCo, through a “portal” through which Plaintiff could access his

account information and confirm the status and value of Plaintiff’s IRA account. identifying the

amount and value of his precious metals on deposit at FSD.

       25.     Plaintiff received spotty and irregular statements from FSD, and FSD would not

discuss matters related to Plaintiff’s deposits directly with Plaintiff or other NDTCo clients, but

instead insisted that these NDTCo accountholders communicate by and through NDTCo. Plaintiff

therefore necessarily relied on NDTCo for accurate information concerning the value of his

precious metals on deposit at FSD.

       26.     The NDTCo account statements and portal consistently reflected that Plaintiff’s

IRA maintained an account balance value at or near what Plaintiff reasonably expected and

because of this manifested no cause for alarm that the precious metals that were represented as on

deposit at FSD were not in fact on deposit with FSD.

       27.     For example, for the year of 2022, Plaintiff received the following statement from

NDTCo:

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       28.     Each year, NDTCo billed Plaintiff and other IRA accountholders regularly for a

host of different administrative and storage fees of NDTCo and of FSD, which fees Plaintiff paid

in reliance on the representations of NDTCo and FSD that his IRA’s account balance was as stated

in the statements he received from NDTCo and FSD and that his precious metals represented to

be on deposit at FSD were in fact being maintained in segregated storage by FSD at its Wilmington,

Delaware facility.

Plaintiff Receives Call from the Federal Bureau of Investigation

       29.     On or about August 30, 2022, an FBI agent out of the Wilmington, Delaware office

contacted Plaintiff, telling Plaintiff that there was an investigation underway regarding apparent

misappropriations of precious metals that were supposed to be on deposit at FSD.

       30.     The FBI agent warned Plaintiff that it appeared Plaintiff may be one of the FSD

customers victimized by this misappropriation.

       31.     Upon information and belief, NDTCo was already well aware of the investigation

underway into the apparent misappropriation of its IRA clients’ precious metals that were


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represented to be securely on deposit at FSD.

       32.     Plaintiff immediately began communicating with NDTCo about removing his

precious metals from FSD to another depository and filled out forms necessary to transfer his

precious metals from FSD to a different depository.

       33.     Neither NDTCo nor FSD were responsive to Plaintiff in a timely manner. NDTCo

took Plaintiff’s calls, but it would drag its feet in responding to requests for information regarding

the transfer of precious metals on deposit at FSD to a different depository.

The CFTC’s Lawsuit

       34.     On September 27, 2022, the Commodity Futures Trading Commission (“the

CFTC”) filed a lawsuit in Delaware federal court against FSD and others regarding the

misappropriation of customers precious metals that were to be on deposit and secured at FSD’s

Wilmington, Delaware office.

       35.     The CFTC’s lawsuit is styled Commodity Futures Trading Commission v. First

State Depository Company, LLC, Argent Asset Group LLC, and Robert Leroy Higgins, Case No.

1:22-cv-01266-RGA, in The United States District Court for the District of Delaware (hereinafter

“the CFTC Lawsuit”).

       36.     Plaintiff hereby incorporates by reference herein the CFTC’s Complaint and all of

the filings in the CFTC Lawsuit.

       37.     In its Complaint, the CFTC alleged FSD and the other named defendants had

violated the Commodity Exchange Act and CFTC regulations.

       38.     In its Complaint, the CFTC alleged that a Robert Higgins of Westchester,

Pennsylvania owns and operates both FSD and a company called The Argent Group out of the

same Wilmington, Delaware office.



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       39.     The CFTC brought claims against The Argent Group, Higgins, and FSD (“the

CFTC Defendants”).

       40.     The CFTC alleges that these CFTC Defendants were allowed to engage in

fraudulent and deceptive schemes regarding the purchase and exchange of precious metals.

       41.     The CFTC complaint summarizes the misdeeds as:




       42.     The CFTC seeks restitution, disgorgement, civil monetary penalties, permanent

trading and registration bans, and a permanent injunction.

       43.     Paragraph 18 of the CFTC Complaint also identifies a relevant third-party believed

to be NDTCo or an affiliate thereof:




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       44.     Among the schemes wrought by the CFTC Defendants included a program

marketed as the “Maximus Program” and a “Silver Lease Program.”

       45.     The “Silver Lease Program” was primarily operated by the unidentified Kansas

third-party, named “Metals Dealer 1” in the CFTC complaint.




       46.     Per the CFTC Complaint, the Kansas-Based Metals Dealer 1 realized a 10-basis

points profit on client assets invested in the Silver Lease Program:




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The Receiver Seizes FSD Assets, and the Accounting Firm Takes inventory

       47.    Within two days of the CFTC’s filing, on September 29, 2022, the Delaware federal

court entered a restraining order freezing assets controlled by FSD and the other defendants and

appointing Dallas attorney Kelly Crawford as the temporary receiver.

       48.    On or about October 5, 2022, federal agents raided the FSD and Argent Group

offices in Wilmington, Delaware.

       49.    The receiver took possession and control of FSD and enlisted an accounting firm

called Baker Tilly to inventory and assess FSD assets.

       50.    The receiver set up a publicly available website with information about the CFTC’s

lawsuit and the receivership, including the Baker Tilly accounting firm’s reports to the receiver

and supplements thereto: https://fsdreceivership.com/.

       51.    Plaintiff hereby incorporates by reference herein the receiver’s website,

https://fsdreceivership.com/, including all the accounting firm’s reports and any appendix or

supplements to those reports.

       52.    The accounting firm discovered that up to $110.4 million assets were missing from

FSD, mainly physical gold and silver.

       53.    Of the missing gold and silver, 90% were held in IRA accounts.

       54.    Over 50% of those IRA accounts were administered by NDTCo.

       55.    FSD failed to keep records of all NDTCo accounts.

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       56.     Upon inspection, many NDTCo accounts, including apparently the account of

Plaintiff Theriault, were seemingly not maintained in FSD’s books and not funded with precious

metals as represented on the statements that Plaintiff had received from NDTCo and FSD.

       57.     Photos from the accounting firm’s premises inspection and its reports are now

publicly available on the receiver’s website. There is estimated $56.8 million to $110.4 million of

assets missing from FSD, primarily in gold and silver.

       58.     Of the up to $110.4 million in missing assets, 90% were held in IRA accounts.

       59.     NDTCo administered up to 50% of those IRA accounts.

       60.     Accordingly, the total losses to the affected NDTCo IRA accountholders are

between approximately $25 million and $50 million.

       61.     Upon information and belief, all or some of the CFTC Defendants misappropriated

and misused the precious metals of Plaintiff and the other NDTCo precious metals IRA

accountholders to profit and enrich themselves.

       62.     The accounting firm’s report identifies discrepancies in 1,006 NDTCo IRA

accounts.

       63.     These discrepancies appear to fall into two categories:

             a. Account exists, with partially intact assets on deposit at FSD; or

             b. Account exists, but with no assets at all on deposit at FSD.

       64.     In addition, there appears to be a group of NDTCo IRA accountholders, including

Plaintiff, whose NDTCo IRA accounts do not currently exist on FSD books, even though NDTCo

and the NDTCo portal has continuously reflected that those accounts exist and FSD had confirmed

the existence of that account, with the precious metals on deposit at FSD.




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NDTCo’s Failure to Timely Notify Clients and Knowledge of Wrongdoing

        65.     NDTCo failed to take reasonable care in identifying suitable depositories for its

clients and failed to notify clients when it had reason to know that depositories were no longer

suitable or feasible.

        66.     NDTCo had notice that FSD was not timely acquiring or securing precious metals

for NDTCo’s clients but failed or refused to notify Plaintiff and others of this fact. Upon

information and belief and based on the CFTC Complaint, NDTCo had such knowledge by no

later than January of 2019.

        67.     Despite its knowledge of the federal investigation regarding FSD, the filing of the

CFTC Lawsuit on September 27, 2022, the Delaware federal court’s freezing of FSD’s assets on

September 29, 2022, as well as the appointment of the receiver, NDTCo made no efforts to timely

notify or warn its clients of these developments.

        68.     When NDTCo finally did provide some notification to its clients, it sent the

following email, on November 3, 2022, nearly a month after the Receivership was put in place:




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       69.     NDTCo knew or had reason to know of some or all the wrongdoings alleged in the

CFTC’s complaint against FSD, Higgins, and the Argent Group.

       70.     NDTCo failed to inform their clients of that knowledge, knowing that providing

that knowledge would cause clients to attempt to withdraw their precious metals from FSD and/or

move their IRA investments through NDTCo to a different IRA.

       71.     NTDCo was derelict in its duty as IRA administrator and custodian in allowing

FSD’s illegal activities to proliferate while NDTCo was receiving administrative fees from clients

and a 10-basis points kickback from FSD in connection with the Silver Lease Program, as alleged

in the CFTC’s Complaint.

       72.     At some point, NDTCo removed FSD from the list of ostensibly suitable and

appropriate precious metals depositories identified on its website and forms.

       73.     At some point, NDTCo created or maintained a page on its website in which it

identified both FSD and The Argent Group as “administratively infeasible” companies. The page

describing FSD and the Argent Group as “administratively infeasible” companies was not readily

accessible on the NDTCo website and could only be accessed by searching for the names of those

companies described as “administratively infeasible.”

       74.     It is not clear how long NDTCo has considered FSD to be “administratively

infeasible,” but Plaintiff was never informed of NDTCo’s conclusion in this regard or provided a

warning by NDTCo that it considered FSD was “administratively infeasible.” Plaintiff reasonably

relied upon NDTCo’s silence in this regard and, particularly given NDTCo’s previous

endorsement of FSD at the time Plaintiff opened his IRA account, reasonably relied on NDTCo to

relay any concerns or meaningful information regarding FSD’s suitability as a precious metals

depository of choice for a NDTCo IRA accountholder.



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       75.       Despite FSD not having even a record of Plaintiff’s account as of October 5, 2022,

Plaintiff was still charged and paid administrative fees to FSD and to NDTCo.

                                   CLASS ACTION ALLEGATIONS

       76.       In addition to bringing this action on behalf of the Plan, Plaintiff also brings this

action as a class action pursuant to Rule 23 of the Federal Rules of Civil Procedure, on behalf of a

class defined as follows:

              All affected New Direction Trust Company precious metals IRA
       accountholders for whom the designated precious metals depository was First State
       Depository and whose precious metals were supposed to be on deposit at First State
       Depository as of September 27, 2022, when the CFTC Lawsuit was filed, but whose
       accounts were not fully intact.

       77.       Class certification is appropriate under Fed. R. Civ. P. 23(a) and (b)(1), (b)(2),

and/or (b)(3).

       78.       The class satisfies the numerosity requirement because it is composed of thousands

of persons, in numerous locations. The aforementioned report of the receiver’s chosen accounting

firm, Baker Tilly, identifies discrepancies in 1,006 NDTCo IRA precious metals accounts.

       79.       The number of class members is so large that joinder of all its members is

impracticable.

       80.       There are questions of law and fact common to the Class and these questions

predominate over questions affecting only individual Class members.

       81.       All these NDTCo IRA precious metals accountholders victimized by the CFTC

Defendants suffered loss through the misappropriation of their precious metals or other assets by

the CFTC Defendants, NDTCo’s failures in this regard, and the administrative fees charged by

both FSD and NDTCo.

       82.       Common legal and factual questions include, but are not limited to:



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               A.       Whether FSD was negligent in handling client assets;

               B.       Whether NDTCo was negligent in handling client accounts or identifying

       FSD as a suitable and appropriate precious metals depository;

               C.       Whether    FSD    committed    fraud   and     affirmative   or   negligent

       misrepresentations of fact by representing that all client assets were 100% fully insured

       and protected;

               D.       Whether NDTCo knew or had reason to know of the activities of FSD and

       the other CFTC Defendants outlined in the CFTC Complaint and failed to inform its IRA

       accountholders of these activities;

               E.       Whether NDTCo committed fraud by silence or affirmative or negligent

       misrepresentations by failing to inform or warn its IRA account holders regarding FSD, its

       lack of adequate insurance and its failure to protect client assets, as well as the other

       misdeeds of the CFTC Defendants outlined in the CFTC Complaint;

               F.       Whether the administrative fees charged by FSD and NDTCo unjustly

       enriched them;

               G.       Whether the actions or inactions of FSD and NDTCo constitute deceptive

       or unconscionable practices under the Kansas Consumer Protection Act or violations of

       other applicable state consumer protection acts; and

               H.       Whether FSD or NDTCo breached contractual obligations to the Class.

       83.     Plaintiff’s claims are typical of the claims of the members of the Class because his

claims, and the claims of all Class members, arise out of the same conduct, policies, and practices

of Defendants as alleged herein, and all members of the Class are similarly affected by Defendants’

wrongful conduct.



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        84.     Plaintiff will fairly and adequately represent the Class and has retained counsel

competent in the prosecution of class action litigation.

        85.     Plaintiff has no interests antagonistic to those of other members of the Class.

        86.     Plaintiff is committed to the vigorous prosecution of this action and anticipates no

difficulty in the management of this litigation as a class action.

        87.     Plaintiff has standing to bring this action on behalf of similarly situated individuals

because they are or during the Class Period were accountholders with NDTCo in a precious metals

IRA, with the precious metals to be on deposit at FSD, and were injured by Defendants’ unlawful

conduct.

        88.     Plaintiff is entitled to receive benefits in the amount of the difference between the

value of their accounts currently or as of the time the account was distributed, and what their

accounts are or would have been worth, but for Defendants’ misconduct as described herein.

        89.     Class action status in this action is warranted under Rule 23(b)(1)(A) because

prosecution of separate actions by the members of the Class would create a risk of establishing

incompatible standards of conduct for Defendants.

        90.     Class action status is also warranted under Rule 23(b)(1)(B) because prosecution

of separate actions by the members of the Class would create a risk of adjudications with respect

to individual members of the Class that, as a practical matter, would be dispositive of the interests

of other members not parties to this action, or that would substantially impair or impede their

ability to protect their interests.

        91.     In the alternative, certification under Rule 23(b)(3) is appropriate because questions

of law or fact common to members of the Class predominate over any questions affecting only




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individual members, and class action treatment is superior to the other available methods for the

fair and efficient adjudication of this controversy.

              COUNT I: BREACH OF FIDUCIARY DUTIES AGAINST BOTH DEFENDANTS

        92.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

        93.     Plaintiff entered into a business relationship with NDTCo and with FSD under

which Plaintiff entrusted his IRA account’s precious metals to FSD as a precious metals depository

identified and recommended by NDTCo.

        94.     In so doing, Plaintiff placed trust and confidence in both NDTCo and FSD to

manage his IRA account and secure and maintain his precious metals and provide the services they

claimed to provide.

        95.     Both NDTCo and FSD were bound to act in good faith and with due regard to

Plaintiff.

        96.     NDTCo and FSD had the duty to act with good faith and loyalty to Plaintiff’s

interests and not to engage in self-dealing.

        97.     NDTCo and FSD breached their duties.

        98.     These fiduciary breaches by NDTCo and FSD caused Plaintiff damage, and

similarly caused damages to those similarly situated NDTCo IRA accountholders who had their

precious metals on deposit at FSD.

                            COUNT II: NEGLIGENCE AGAINST NDTCO

        99.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.




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           100.   Because NDTCo undertook to identify appropriate depositories for its clients,

NDTCo had a duty to identify only depositories that were suitable for its clients’ assets.

           101.   NDTCo further had a duty to prevent illegal activities involving its clients’ assets

from proliferating.

           102.   NDTCo knew or had reason to know that FSD was not a suitable or trustworthy

depository.

           103.   NDTCo had notice that FSD was not timely acquiring or securing precious metals

for NDTCo’s clients but failed or refused to notify Plaintiff and others of this fact. Upon

information and belief and based on the CFTC Complaint, NDTCo had such knowledge by no

later than January of 2019.

           104.   NDTCo failed to take reasonable care in identifying suitable depositories for its

clients and failed to notify clients when it had reason to know that depositories were no longer

suitable or feasible.

           105.   NDTCo’s recommendation of FSD caused Plaintiff to deposit his precious metals

with FSD.

           106.   At some point, NDTCo knew that FSD was “administratively infeasible.”

           107.   NDTCo failed to timely share its knowledge of FSD’s untrustworthiness with its

clients.

           108.   NDTCo’s negligence caused Plaintiff to suffer damages, and similarly caused

damages to those similarly situated NDTCo IRA accountholders who had their precious metals on

deposit at FSD.




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                             COUNT III: NEGLIGENCE AGAINST FSD

        109.    Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

        110.    FSD had a duty to hold and secure customers’ precious metals assets, including

those of Plaintiff, as it claimed to do, and protect those assets from third parties.

        111.    FSD claimed that its transactions were “fully transparent,” and that it provided

“accurate and timely reporting.”

        112.    FSD failed to hold customers’ assets and maintain accounts, including Plaintiff’s

account.

        113.    FSD failed to protect customers’ assets from third parties, including Higgins and

The Argent Group, according to the CFTC Lawsuit.

        114.    FSD failed to make Plaintiff’s deposits accessible when reasonably requested by

Plaintiff.

        115.    Up to $110.4 million of assets are missing from FSD storage.

        116.    FSD failed to keep accurate records regarding client accounts, including failing to

keep any records of multiple client accounts.

        117.    FSD’s failure to maintain client records and precious metals assets caused Plaintiff

to suffer damages, and similarly caused damages to those similarly situated NDTCo IRA

accountholders who had their precious metals on deposit at FSD.

                              COUNT IV: CONVERSION AGAINST FSD

        118.    Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.




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        119.    FSD held Plaintiff’s property for the purpose of safeguarding Plaintiff’s

investment.

        120.    On its website, FSD claimed that the physical assets “always remain physically

stored in our depository, in your account and your legal property at all times.”

        121.    FSD had no record of Plaintiff’s account.

        122.    Rather than hold Plaintiff’s property in his account, FSD or its agents intentionally

and without authorization exercised the right of ownership over Plaintiff’s precious metals assets

through the misappropriation and misuse of those assets.

        123.    By so doing, FSD converted Plaintiff’s property for its own use contrary to the

terms agreed to by Plaintiff, and similarly converted the property of those similarly situated

NDTCo IRA accountholders who had their precious metals on deposit at FSD.

        124.    When Plaintiff attempted to retake physical possession of his precious metals at

FSD, FSD refused to allow him to set an appointment to physically regain possession despite a

two-weeks’ advance notice.

        125.    Thus, Plaintiff and those similarly situated NDTCo IRA accountholders are each

owed the fair and reasonable market value of each individual NDTCo IRA accountholder’s

precious metals deposit.

                                  COUNT V: FRAUD AGAINST FSD

        126.    Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

        127.    FSD made multiple false or untrue statements of existing and material fact,

including statements regarding the amount of its insurance, the type of insurance, the location of

client assets, and its ability to keep accurate records.



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        128.    FSD knew its statements were false or was reckless regarding the truth of its

statements.

        129.    FSD made its statements intentionally, with the intention of inducing others to rely

on the statements.

        130.    As FSD noted, it knew “that asset safety [and[ transaction accuracy . . . are of

paramount importance to every depository customer.”

        131.    Plaintiff reasonably relied on the statements made by FSD, including Account

Summary statements relayed to him by NDTCo.

        132.    By relying on FSD’s statements, Plaintiff suffered damage, as did those similarly

situated NDTCo IRA accountholders who had their precious metals on deposit at FSD and relied

on the statements of FSD.

                         COUNT VI: FRAUD BY OMISSION AGAINST NDTCO

        133.    Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

        134.    NDTCo knew or had reason to know that there were reasons to be suspicious of the

activities of FSD or its principals or agents and that FSD was not trustworthy.

        135.    Plaintiff did not know of FSD’s internal failings, nor could Plaintiff reasonably

discover those issues.

        136.    NDTCo, because it had listed FSD as a depository on its paperwork to Plaintiff,

had a duty to communicate any suspicions or knowledge of FSD’s untrustworthiness to Plaintiff.

        137.    NDTCo knew that FSD was administratively infeasible.

        138.    NDTCo keeps a list of “Administratively Infeasible Companies,” but the list is not

easily or readily accessible for its clients.



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       139.     NDTCo removed FSD from its list of available depositories.

       140.     NDTCo knew its clients had, in very large amounts, entrusted FSD with their funds,

so much so that a large percentage of the precious metals on deposit at FSD were precious metals

owned by NDTCo IRA accountholders.

       141.     Upon information and belief, NDTCo was secretly receiving a 10-basis points

kickback on certain of its clients’ assets held at FSD, it but did not disclose that fact and that

conflict of interest to Plaintiff or other NDTCo IRA accountholders who had their precious metals

on deposit at FSD.

       142.     NDTCo intentionally took steps silently as a result of its knowledge about FSD and

failed to communicate its knowledge to Plaintiff.

       143.     Plaintiff relied on NDTCo’s listing of FSD as a trustworthy depository.

       144.     Plaintiff relied on the NDTCo provided account statements and portal to provide

accurate information regarding the value of Plaintiff’s precious metals IRA account; however,

according to the information discovered by the receiver and accounting firm in the CFTC Lawsuit,

the account information that NDTCo provided on the portal was false and inaccurate.

       145.     Plaintiff sustained damages because of NDTCo’s failure to communicate its

knowledge about FSD to Plaintiff, as did those similarly situated NDTCo IRA accountholders who

had their precious metals on deposit at FSD and relied on NDTCo to provide information and

knowledge regarding FSD.

                COUNT VII: UNJUST ENRICHMENT AGAINST BOTH DEFENDANTS

       146.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

       147.     Plaintiff conferred a benefit upon NDTCo by using its services and paying it fees.



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           148.   Plaintiff conferred a benefit upon FSD by using its purported services and paying

it fees.

           149.   FSD and NDTCo have retained all benefits they have received from Plaintiff.

           150.   Under the circumstances, allowing FSD and NDTCo to retain the benefits provided

by Plaintiff would be unjust, just as it would be unjust as to all of those similarly situated NDTCo

IRA accountholders who paid fees to FSD and NDTCo and, like Plaintiff, had their precious metals

on deposit at FSD compromised.

                         COUNT VIII: CONSTRUCTIVE TRUST AGAINST FSD

           151.   Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

           152.   As discussed above, FSD committed fraud.

           153.   FSD breached its legal duty to Plaintiff to keep accurate records and hold Plaintiff’s

assets as reflected in its account statements and by its own statements.

           154.   Plaintiff and FSD were in a confidential, business relationship.

           155.   By failing to properly keep Plaintiff’s account, FSD betrayed Plaintiff’s trust.

           156.   Under the circumstances, it would be unjust to allow FSD to acquire the property

that was entrusted to it by Plaintiff, and the Court should impose a constructive trust in favor of

Plaintiff as to those precious metals owned by Plaintiff and that were to be on deposit at FSD, as

well as to those precious metals of all similarly situated NDTCo accountholders whose precious

metals were to be on deposit at FSD.

      COUNT IX: CONSUMER PROTECTION ACT VIOLATIONS AGAINST BOTH DEFENDANTS

           157.   Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.



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       158.     Under Kansas, Delaware, and Vermont law, Plaintiff is a consumer, NDTCo and

FSD are suppliers, and both NDTCo and FSD engaged in unfair, deceptive, and unconscionable

acts or practices in commerce.

       159.     NDTCo represented that FSD was a trustworthy depository where its clients could

store their precious metals.

       160.     Plaintiff understood that NDTCo’s inclusion of FSD on its forms indicated it was

a depository trusted by NDTCo.

       161.     Because NDTCo supported FSD as a depository, Plaintiff decided to store his

precious metals at FSD.

       162.     Because NDTCo continued to support FSD as a depository and did not warn

Plaintiff about FSD when it had reason to know or suspect that there might be issues or concerns

with FSD and, at some point, concluded that FSD was administratively infeasible, Plaintiff

continued to store his precious metals at FSD.

       163.     FSD represented that it carried sufficient insurance to cover any losses and that it

would maintain and secure physical possession of all of Plaintiff’s and its other clients’ precious

metal assets.

       164.     Plaintiff understood these representations to mean what they said.

       165.     FSD failed to provide its services in the manner and nature it advertised.

       166.     By their foregoing actions or inactions, as well as by the other acts alleged herein

and in the CFTC Lawsuit, FSD and NDTCo committed violations of the Kansas, Delaware, and

Vermont consumer protection statutes.

       167.     Because of FSD’s and NDTCo’s violations of these consumer protection acts and

unfair practices in commerce, Plaintiff and those similarly situated NDTCo IRA accountholders



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suffered damages, and FSD and NDTCo are subject to civil penalties as outlined in the respective

state consumer protection statutes.

                COUNT X: BREACH OF CONTRACT AGAINST BOTH DEFENDANTS

       168.     Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

       169.     Plaintiff entered into a written and implied contract with NDTCo.

       170.     Under the contract, NDTCo agreed to provide accurate account information as the

IRA custodian, reflecting accurate information as to precious metals depositories and accurate

account values and information regarding the precious metals held at those precious metals

depositories.

       171.     In return, Plaintiff paid NDTCo administrative and other fees and used NDTCo as

his account administrator.

       172.     Plaintiff entered into a contract with FSD.

       173.     Under the contract, FSD agreed to secure Plaintiff’s precious metals and maintain

his account accurately.

       174.     In return, Plaintiff agreed to allow FSD to hold his precious metals and paid FSD.

       175.     Both NDTCo and FSD breached their contracts with Plaintiff.

       176.     NDTCo failed to provide accurate information regarding FSD and accurate account

information regarding Plaintiff’s investments at FSD.

       177.     FSD failed to keep and secure Plaintiff’s precious metals secure and record his

account information.

       178.     Because of NDTCo’s and FSD’s breaches of contract, Plaintiff and those similarly

situated NDTCo IRA accountholders suffered damages.



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                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants on all claims

and requests that the Court award the following relief:

               A.       A determination that this action may proceed as a class action under Rule

       23(b)(1) or, in the alternative, Rule 23(b)(3) of the Federal Rules of Civil Procedure;

               B.       Designation of Plaintiff as Class Representative and designation of

       Plaintiff’s counsel as Class Counsel;

               C.       Actual damages in the amount of any losses Plaintiff and the Class suffered,

       including but not limited to the loss of the value of Plaintiff’s NDTCo IRA account (in

       excess of $200,000) and the cumulative value of all of the losses to all of the Class

       members’ affected NDTCo accounts (in excess of $5,000,000), to be allocated among the

       Class Members’ individual accounts in proportion to each account’s losses;

               D.       An Order compelling the Defendants to make good to Plaintiff and the Class

       all losses resulting from Defendants’ fiduciary and other breaches and to restore to Plaintiff

       and the Class any and all profits that any of the Defendants realized through the use of

       Plaintiff’s and the Class’s assets, and to restore all profits which the participants would

       have made if the Defendants had fulfilled their fiduciary and other obligations to Plaintiff

       and the Class;

               E.       An order enjoining Defendants from any further violations of their fiduciary

       responsibilities, obligations, and duties;

               F.       An award of pre-judgment interest;

               G.       An award of attorneys’ fees pursuant to the applicable state consumer

       protection acts or other statute; and



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         H.      Such other and further relief as the Court deems equitable and just.

                              DEMAND FOR JURY TRIAL

 Plaintiff demands a trial by jury on all triable issues.

                          DESIGNATION OF PLACE OF TRIAL

 Plaintiff designates Kansas City, Kansas as the place of trial.


                                                 Respectfully submitted by,

                                                  /s/ Scott C. Nehrbass
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